Case 8:17-cr-00309-WFJ-JSS Document 158 Filed 08/17/22 Page 1 of 2 PageID 481




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

UNITED STATES OF AMERICA,                         CASE NO.: 8:17-cr-00309-WFJ-JSS

vs.

GEORGE CALHOUN,
_________________________________/

                              SENTENCING MEMORANDUM

       COMES NOW, George Calhoun, by and through the undersigned counsel, and files this

sentencing memorandum in support of a time served sentence. Mr. Calhoun respectfully requests

that this Honorable Court impose a sentence “sufficient, but not greater than necessary” to achieve

the sentencing purposes of 18 U.S.C. § 3553(a) which he requests be within the guideline range of

the PSR, Offense Level 23, Criminal History IV for a range of 70 – 87 months.


                   FACTORS SUPPORTING A GUIDELINE SENTENCE


       1.    In the government’s motion to continue this sentencing that was denied, the
            government asserted Mr. Calhoun is receiving a windfall with a 70 month sentence
            because of Jackson. This is the result of the application of the guidelines and the
            current case law. Such a sentence comes clothed with indicia of reasonableness. Mr.
            Calhoun seeks a sentence in this range.

       2. Mr. Calhoun has been incarcerated since June 22, 2017 at the Pinellas County Jail and
          the predominantly the Citrus County Jail. He has endured two waves of the Covid
          pandemic and the restrictions and limitations quarantines and the fear of a devastating
          illness placed over the facilities.

       3. The individual characteristics of Mr. Calhoun support a sentence within the guideline
          range. Pepper v. United States, 131 S.Ct. 1229 (2011), extols consideration of post-
          sentencing rehabilitation when a defendant appears before the District Court for re-
          sentencing. The Supreme Court emphasized that post-sentencing rehabilitation was
          fundamental to the District Court's overarching duty under § 3553(a) to "'impose a
          sentence sufficient, but not greater than necessary to serve the purposes of
          sentencing." The Supreme Court declared among other things that the history and
          characteristics of the defendant on the day of sentencing (or re-sentencing in Pepper's


                                            Page 1 of 2
Case 8:17-cr-00309-WFJ-JSS Document 158 Filed 08/17/22 Page 2 of 2 PageID 482




          case) are crucial. As Mr. Calhoun stands before this Court at his August 2022
          sentencing, he is 45 years old.

       4. A sentence in the unobjected to guideline range appropriately recognizes the nature of
          the charges, his genuine remorse and acceptance of responsibility, and the toll of county
          jail incarceration.


       WHEREFORE, because a sentence in the guideline range honors the factors of §3553(a)

and is “sufficient, but not greater, than necessary”, Mr. Calhoun respectfully requests this

Honorable Court sentence him in the calculated range. His sentencing guideline range is 70 - 87

months.


                                                    Respectfully Submitted,


                                                    s/Michael P. Maddux
                                                    Michael P. Maddux, P.A.
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                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this August 17, 2022, I electronically filed the foregoing

with the Clerk of Court by using the CM/ECF system.




                                                    s/Michael P. Maddux
                                                    Michael P. Maddux, Esquire




                                           Page 2 of 2
